  8:06-cr-00114-JFB-FG3       Doc # 14    Filed: 06/13/06    Page 1 of 1 - Page ID # 46




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:06CR114
       vs.                                  )
                                            )                     ORDER
MARY BARNER,                                )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed MOTION TO EXTEND TIME
IN W HICH TO FILE PRETRIAL MOTIONS [13].      For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 20-day extension.
Pretrial Motions shall be filed by July 3, 2006.

       IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND TIME IN W HICH TO FILE PRETRIAL MOTIONS [11]
is granted. Pretrial motions shall be filed on or before July 3, 2006.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between June 12,
2006 and July 3, 2006, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 13th day of June, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
